        Case 4:12-cr-00275-DPM Document 142 Filed 06/07/13 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                              NO. 4:12CR00275-04-DPM

NICK ALAN DICKSON                                                          DEFENDANT


                                        ORDER

       The Government has moved for revocation of Defendant Nick Alan Dickson’s

pretrial release for failure to follow imposed conditions. (Docket entry #141) The Clerk

is directed to issue a summons, and the United States Marshal is directed to serve the

summons upon Mr. Dickson, requiring him to appear at a revocation hearing before

United States Magistrate Judge Beth Deere on June 20, 2013, at 10:00 a.m. and to show

cause why his pretrial release should not be revoked.

       IT IS SO ORDERED this 7th day of June, 2013.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
